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EXHIBIT A

SUMMONS AND COMPLAINT

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Case 2:09-cv-01007 Document 1-1 Filed 09/16/09 Page 2 of 7 PagelD } #:

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Office of the Secretary: of State.
Buliding 1 Suite 1S7-K osu. bs
1900 Kanawha Bivd E - f

Charleston, WV 25306 | ..

   

Natalie E. Tennant
Secretary of State
Telephone: 304-558-6006
Toll Free: 866-SOS-VOTE
WWW. WVSOS,. COM

 

ControlNumber: 282042
Defendant: Baker instalation ine.
Baker Installation Inc.
clo Fredrick P. Baker
4421 West Washington Rd. 8/17/2009
McMurray PA 15317-2552 Civil Action: 0S-C-624
lam enclosing
summons —_.._ affidavit 1 summons and complaint
notice . answer summons returned from post office
order cross-claim .— summons and amended compiaint
petition _. -counterciaim 3rd pany summons and compiaint
motion ___ Fequest . _ —*no return from post office
suggestions certified return receipt notice of mechanic's lien

interrogatories request for production suggestee execution

Other

original requesi for admissions

subpeona duces tecum

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, |
have accepted service of process in the name anc on dehalf of your unauthorized foreign corporation.

Piease note that this office has no connection whatsoever with the enciased documents other than to accept
service of process in your name and on behali as your attomey-in-fact, Please address any questions about
this document directly to the court or the plantiff's attorney, shown in the enclosed paper. Please do not call the
Secretary of State's office.

Sincerely,

ah hp E door tne

Natali le E. Tennant

Secretary of State L EXHIBIT ~ oe

 

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Case 2:09-cv-01007 Document 1-1 Filed 09/16/09 Page 3 of 7 PagelD #: 7

CIRCUIT COURT OF KANAWHA COUNTY, WEST VIRGINIA

Wwe D cw _ Case NAA -C-LOOE
DIY (Win Nowst
Charboskm WU SS31% ping
Clo Arnoduicle Poke.
GAL (dest washmabon Re)
eel iaman, Pf. IS Defendant

 

SUMMONS a

 

Ta the above-named Defendant:

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and required

fo serve upon Hunele. Lo otheen. plaintiff's
attorney, whose address is PD, AY. S43 Demon Les asad :

an answer, including any related counterclaim you may have, to the complaint filed against you In the

above styled civil action, a true copy of which is herewith delivered to you. You are required to serve

your answer within wy days after service of this summons upon you, exclusive of the day of

service. Ifyou fail to do so, judgment by default will be taken against you Jor the relief demanded in the
complaint and you will be thereafter barred for asserting in another action any claim you may have

which must be asserted by counterclaim in the above styled civil action,

paved: SAG EAA
d ist Hossa

§ Clerk + Court

       

Ke Clerk
#:8
Case 2:09-cv-01007 Document 1-1 Filed 09/16/09 Page 4 of 7 PagelD

IN THE CIRCUIT COUR TO KANAWHA COUNTY, WEST VIRGINIA

“MARC DEAN
Plaintiff C 3 te. He 4
=
Vs. 2
_ Sa
BAKER INSTALLATIO Ite, as

COMPLAINT

VAT SRS
o2 sh Hd 9- BaP 6607

Plaintiff, Marc Dean, hereinafter referred to as Plaintiff, acting by arid
through her undersigned counsel, Eunice Green,

Esq., files this Original

  

Complaint against Defendants: Baker installation and for Causes of action of race

discrimination within the meaning of Title Vil of the Civil Rights Act of 1964, as

amended, and would and respectiully show the Court as follows:

t. Plaintiff is a resident of Kanawha County, Charleston, West

Virginia.
2. Defendant is a corporation doing business jn Kanawha County and
the State of West Virginia.

3. On about April 24, 2004 plaintiff became an employer of the

defendant Company as a cable installer.

4, Plaintiff first position was located in Charleston, West Virginia were
he worked cab}.

& Installer after which he was temporally transferred to the
Teays Valley office.

5. Upon the request of the Management, he was Dermanently

transferred to the Teays Valley office,
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6. initially there were six black males employed by the defendant at
the time of his employment.

7. Defendant systematically terminated and/or catises to leave each
black employee without chance of return, inclusive of plaintiff.

B. Plaintiff first encounter with the racially hostile environment began
soon after he began working.

9. The defendant claimed that plaintiff had left equipment with a
customer. Although plaintiff explained that he was instructed to do so by
dispatcher, he was forced fo sign a disciplinary reprimand under threat of
termination.
10. Plaintiff asserts that blacks inclusive of himself were differentially
treated than that of his white counterparts.

11. Black employees were directed to work assignments in remote
areas of the city were they were subjected to racial harassment.

42. Biacks as that of the plaintiff were given clean up jobs that the
white employees had failed to complete and/or had done incorrectly.

13. Blacks employees as that of the plaintiff were treated with
disrespect and differentially in situations of disciplinary action and/or
termination.

14. On or about June 21, 2007, plaintif received a complaint that he
had failed to complete a job assignment.

15. Subsequent to that complaint, plaintiff accompanied the supervisor
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te the site of the alleged complaint and showed supervisor that the job had
been completed according to company policy.

16. Supervisor informed plaintiff that he would call into Sudden link
and indicate the correction concerning the job completion.

17. However, on or about June 22, 2007 plaintiff was accused of lying
on his paper work regarding the completion of the assigned job
performance.

18. On the 22™ day of June, plaintiff was unjustly terminated,

18. Plaintiff was subjected to acts of discrimination throughout his
employment, which created a hostile working environment.

20. ‘Following his termination, plaintiff has been denied his rightful
benefits of vacation and other benefits due him.

21. As a result of the failure of defendant to compensate him for his
benefit, defendants continue to discriminate against plaintiff unjustly.

22. ‘Plaintiff was subjected to racial discrimination within the meaning of

Title VII of the Civil Rights Act of 1964, as amended.

“BUNICE L.GREEN#3742

ATTORNEY AT LAW
P.O. BOX 893
Dunbar, WV 25064
304-766-9474

MARC DEAN
BY COUNSEL
' Case 2:09-cv-01007 Document 1-1 Filed 09/16/09 Page 7 of 7 PagelD #: 11

VERIFICATION OF PLEADINGS
L, Yh ave Noa V4 after being duly sworn, upon oath, says the facts and
allegations contained herein are true, except insofar, as they are therein stated to be upon

information and belief, and insofar as they are stated to be upon information ad belief,

believes ther to be true.

 

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Taken, subscribed to and sworn before me this el day of KO P4 L
2009,

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